       Case 4:17-cv-00331-JEG-SBJ Document 11 Filed 12/26/17 Page 1 of 6



                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF IOWA



       James Lee Blair-Bey



               Plaintiff                            JUDGMENT IN A CIVIL CASE
       v
                                                    CASE NUMBER: 4:17-cv-331-JEG-SBJ
       State of Iowa, Patti Wachtendorf,
       Paul Gager, Berl Wilcox, Dave
       Rhodes, Doug Beavers, et al.

               Defendant

        JURY VERDICT . This action came before the Court for trial by jury. The issues have been
tried and the jury has rendered its verdict.

       DECISION BY COURT. This action came before the Court. The issues have been
considered and a decision has been rendered.


IT IS ORDERED AND ADJUDGED:
The complaint is dismissed. Judgment is entered in favor of the defendants.




Date: December 26, 2017                             CLERK, U.S. DISTRICT COURT


                                                    /s/ Kellie Watson
                                                    ______________________________
                                                    By: Deputy Clerk
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                    IMPORTANT NOTICE REGARDING APPEALS
        PLEASE READ CAREFULLY BEFORE YOU FILE A NOTICE OF APPEAL.


        A prisoner seeking to appeal a judgment of the district court must file a notice of appeal
in the district court. Upon filing a notice of appeal in district court, a prisoner is responsible
for payment of the full $505 appellate filing fee regardless of the outcome of the appeal. 28
U.S.C. section 1915.

        A prisoner must pay the appellate filing fee in one of two ways:

       (1) Immediate payment of the full filing and docketing fees for the appeal. Submit a
money order, check, or cash in the amount of $505 to the district court (checks and money orders
should be made payable to: Clerk of the United States District Court),

OR

       (2) Submit to the district court clerk a motion for leave to proceed in forma pauperis on
appeal. If the motion is granted, an initial partial payment will be deducted from the prisoner’s
funds with the remainder of the fees paid on an installment basis. A notice of appeal serves as
consent to deduct the initial partial appellate filing fee and the remaining installments from the
prisoner’s institutional account by prison officials. The directions and forms for filing an
application to proceed in forma pauperis on appeal are attached to this notice.

         If the court determines that the prisoner has no assets and no means by which to pay the
initial partial filing fee, the prisoner will still be liable for the entire $505, but the case will be
allowed to proceed without any initial payment. When funds become available in the prisoner’s
account, the prisoner will begin paying the full $505 on the installment plan.
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                         Proceeding In Forma Pauperis on Appeal

        If you wish to proceed in forma pauperis on appeal, you must submit all of the following
to the district court clerk:

       (1) a motion for leave to proceed in forma pauperis on appeal,
       (2) a financial affidavit, and
       (3) within 30 days of filing the notice of appeal, a certified copy of your prison account
        statement for the last 6 months.

        Even if you were granted in forma pauperis status when you filed your complaint in
this case, you must provide updated in forma pauperis information. Failure to file the prison
account information will result in the assessment of an initial partial appellate fee of $35 or
some other reasonable amount based on whatever information about your finances the
court has.

       Once the district court clerk’s office receives all of the above documents, it will
determine whether you may proceed in forma pauperis on appeal and whether to certify to the
Eighth Circuit that the appeal is not taken in good faith. See 28 U.S.C. section 1915(a)(3) and
Federal Rule of Appellate Procedure 24(a).

        If you are permitted to proceed in forma pauperis, the court will calculate the initial
partial payment which is an amount equal to 20% of the greater of:
        (1) the average of the monthly deposits into your trust account during the last 6 months,
or
        (2) the average of the monthly balance of your trust account during the last 6 months.

         You and the appropriate prison official will receive an order assessing you initial partial
payment. You are responsible for paying the balance of the $505 fee in monthly
installments. For example, if the court assesses an initial partial payment of $25, you must pay
the remaining $480 in monthly installments, REGARDLESS OF THE OUTCOME OF
YOUR APPEAL. Each monthly installment will be equal to 20% of the preceding month’s
income credited to your account. Prison officials will deduct these amounts and send them to the
district court.

        If the district court rules that your appeal is not taken in good faith, it will deny you the
right to proceed on appeal in forma pauperis and certify to the Court of Appeals for the Eighth
Circuit that the appeal is not taken in good faith. If you still wish to pursue the appeal in forma
pauperis, you must file a motion to proceed in forma pauperis with the Eighth Circuit under Fed.
R. App. P. 24(a). Upon filing a Rule 24(a) motion, you immediately will be responsible for
paying the appellate fee either on the installment plan, or all at once if you have three dismissals
under section 1915(g).
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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF IOWA
                                     CENTRAL DIVISION

                                  NOTICE OF APPEAL
                                          *
James Lee Blair-Bey                       *     4:17-cv-331-JEG-SBJ
Plaintiff                                 *    District Court Docket Number
                                          *
                                          *
State of Iowa, Patti Wachtendorf, Paul    *
Gager, Berl Wilcox, Dave Rhodes, Doug
Defendant                                 *    District Court Judge
Beavers, et al.
Notice is hereby given that                                    appeals to the United States Court of
Appeals for the Eighth Circuit from the                 “ Judgment    “ Order entered in this
action on               .


Signature of Appellant/Cnsl                                        Street Address


Date                                                                City                       State      Zip


Typed/printed Name                                                  Telephone Number

Transcript Order Form:              ( To be completed by attorney for appellant )

Please prepare a transcript of:
                                                               (Specify)

I am not ordering a transcript because:
                                                                (Specify)

                                 CERTIFICATE OF COMPLIANCE
Appellant hereby certifies that copies of this notice of appeal/transcript order form have been filed/served upon the
US District Court, court reporter, and all counsel of record and that satisfactory arrangement for payment of cost of
transcripts ordered have been made with the court reporter (FRAP 10(b))

Attorney’s Signature                                                  Date:


       NOTE: COMPLETE APPROPRIATE APPEAL SUPPLEMENT FORM
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AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)


                                        UNITED STATES DISTRICT COURT
                                                                     for the
                                                            SouthernDistrict
                                                        __________   Districtofof__________
                                                                                  Iowa

                        James Lee Blair-Bey                                   )
                          Plaintiff/Petitioner                                )
                                   v.                                         )      Civil Action No. 4:17-cv-331-JEG-SBJ
   State of Iowa, Patti Wachtendorf, Paul Gager, Berl                         )
      Wilcox, DaveDefendant/Respondent
                    Rhodes, Doug Beavers, et al.                              )


        APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
                                        (Short Form)

         I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings and
that I am entitled to the relief requested.

          In support of this application, I answer the following questions under penalty of perjury:

         1. If incarcerated. I am being held at:                                                                       .
If employed there, or have an account in the institution, I have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. I am also submitting a similar statement from any other institution where I was
incarcerated during the last six months.

          2. If not incarcerated. If I am employed, my employer’s name and address are:




My gross pay or wages are: $                                        , and my take-home pay or wages are: $                  per
 (specify pay period)                                        .

          3. Other Income. In the past 12 months, I have received income from the following sources (check all that apply):

       (a) Business, profession, or other self-employment                            ’   Yes                ’   No
       (b) Rent payments, interest, or dividends                                     ’   Yes                ’   No
       (c) Pension, annuity, or life insurance payments                              ’   Yes                ’   No
       (d) Disability, or worker’s compensation payments                             ’   Yes                ’   No
       (e) Gifts, or inheritances                                                    ’   Yes                ’   No
       (f) Any other sources                                                         ’   Yes                ’   No

         If you answered “Yes” to any question above, describe below or on separate pages each source of money and
state the amount that you received and what you expect to receive in the future.
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AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)



          4. Amount of money that I have in cash or in a checking or savings account: $                                             .

         5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial instrument or
thing of value that I own, including any item of value held in someone else’s name (describe the property and its approximate
value):




          6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide
the amount of the monthly expense):




        7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
with each person, and how much I contribute to their support:




          8. Any debts or financial obligations (describe the amounts owed and to whom they are payable):




       Declaration: I declare under penalty of perjury that the above information is true and understand that a false
statement may result in a dismissal of my claims.


Date:
                                                                                                            Applicant’s signature



                                                                                                               Printed name
